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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA            )
                                    )
       v.                           )    CRIMINAL ACTION NO.
                                    )      2:10cr186-MHT
MILTON E. McGREGOR,                 )          (WO)
RONALD E. GILLEY,                   )
THOMAS E. COKER,                    )
ROBERT B. GEDDIE, JR.,              )
LARRY P. MEANS,                     )
JAMES E. PREUITT,                   )
QUINTON T. ROSS, JR.,               )
HARRI ANNE H. SMITH,                )
JARRELL W. WALKER, JR.,             )
and JOSEPH R. CROSBY                )

                           OPINION AND ORDER

       Two of the ten defendants who are going to trial in

this case, Ronald E. Gilley and Thomas E. Coker, have

filed       motions   to   strike   surplus     language     from       the

indictment against them.              For the reasons below the

motions will be denied, albeit without prejudice.



                                    I.

       The 39-count indictment in this case charges that, as

part    of       an   effort    “to      promote   the    passage        of
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pro-gambling legislation that would be favorable to the

business interests of individuals operating electronic

bingo facilities,” Indictment ¶ 19 (Doc. No. 3), the

defendants committed a number of crimes.               Gilley has been

charged in 22 counts of the indictment and Coker charged

in 14.

      Count    one     charges     both     Gilley   and      Coker     with

conspiracy       to     commit     federal-programs        bribery,       in

violation of 18 U.S.C. §§ 371, 666(a)(1)(B) & (a)(2).

Counts     eight      and   ten    charge    both    defendants        with

federal-programs         bribery,    in   violation      of    18     U.S.C.

§ 666(a)(2).          Counts twenty-three through thirty-three

charge both defendants with honest-services fraud, in

violation of 18 U.S.C. §§ 1341, 1343, and 1346.

      Gilley is also charged in counts two, four, five, and

thirteen with federal-programs bribery, in violation of

18   U.S.C.     §     666(a)(2).      Counts    thirty-four         through

thirty-seven charge Gilley with money laundering, in

violation of 18 U.S.C. § 1956(a)(1)(B)(i).



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                                     II.

       As stated, Gilley and Coker ask that the court strike

certain so-called surplusage from the indictment against

them.



                      A.   Fed. R. Crim. P. 7(d)

       Rule 7(d) of the Federal Rules of Criminal Procedure

provides that, “Upon the defendant’s motion, the court

may      strike      surplusage         from    the     indictment         or

information.”         Fed. R. Crim. P. 7(d).               “A motion to

strike      surplusage     from    an     indictment    should     not     be

granted unless it is clear that the allegations are not

relevant       to    the    charge      and    are    inflammatory         and

prejudicial.        This is a most exacting standard.”              United

States v. Awan, 966 F.2d 1415, 1426 (11th Cir. 1992)

(internal quotations and citation omitted).                      Thus, to

prevail on a motion to strike surplusage, a defendant

must make two showings.           First, the contested portions of

the indictment must be irrelevant to the charged crimes.

Id.      Second, the defendant must also show that the

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challenged     language       is       unfairly     prejudicial         or

inflammatory.     Id.     Of course, the two showings are not

unrelated; whether evidence is unfairly prejudicial or

inflammatory may depend on how relevant it is.



                        B. Whether Relevant

    Gilley and Coker challenge the indictment’s use of

the term “pro-gambling” numerous times to describe the

legislation at issue in the case.                However, it appears

from the face of the indictment that the term is relevant

to the government’s allegations of an illegal conspiracy

to promote legislation favorable to those with business

interests in electronic bingo.

    Evidence is relevant if it has “any tendency to make

the existence of any fact that is of consequence to the

determination     of    the   action      more    probable    or    less

probable than it would be without the evidence.”                Fed. R.

Evid. 401.    The indictment alleges that certain pieces of

legislation were “pro-gambling” because they would have

benefitted     individuals       with     business     interests        in

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gambling         enterprises.         This    allegation     is     relevant

because it provides a potential motive for defendants

with financial interests in electronic bingo to conspire

to   pass    the     legislation.            In   other    words,    if   the

legislation would have favored certain defendants with

business interests in gambling, it is “more probable,”

Fed. R. Evid. 401, that those defendants would have had

a motive to join the alleged conspiracy.                    Of course, it

must be remembered that characterizing the legislation as

“pro-gambling” is merely an allegation; the government

will still have to prove the allegation to the jury.



            C.    Whether Prejudicial and Inflammatory

      Gilley       and    Coker   also       argue   the   “pro-gambling”

references are           prejudicial and inflammatory.



                                       1.

      In    support      of   their    argument,      Gilley      and   Coker

maintain that the references mischaracterize Senate Bill

380, which would have enabled Alabama voters to determine

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whether    electronic     bingo    should    be   legal     statewide.

Gilley and Coker assert that the indictment’s language

has the potential to mislead jurors into thinking the

bill    would   have   directly     legalized     electronic      bingo

without a voter referendum.

       The court rejects Gilley and Coker’s concern for two

reasons.    First, paragraphs 21 and 22 of the indictment

describe Senate Bill 380 as follows:

           “21.    In    January     2010,    at   the
           commencement    of    the    2010   Alabama
           legislative session, various members of
           the   Legislature    introduced     several
           pieces of legislation that, if enacted,
           would be favorable to the business
           interests of the operators of gambling
           enterprises, including MCGREGOR and
           GILLEY.     This legislation primarily
           distilled to two measures: (1) proposed
           amendments to the Constitution of
           Alabama    that   would     authorize   the
           operation of electronic bingo gambling
           machines in Alabama, and (2) proposed
           general legislation that would preclude
           law    enforcement      officials      from
           interfering with the operations of
           electronic bingo gambling establishments
           until a public referendum was held on
           the Constitutional Amendment.

           “22. Senate Bill 380 (“SB380”), which
           was introduced in the Alabama Senate on

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           or about February 4, 2010, like the
           “Sweet Home Alabama” legislation in
           2009, proposed an amendment to the
           Alabama Constitution permitting the
           operation and taxation of electronic
           bingo in Alabama. MCGREGOR, GILLEY, and
           other operators of similar gambling
           enterprises supported SB380.”

Indictment ¶¶ 21 and 22 (Doc. No. 3). Paragraph 21,

therefore, plainly refers to a “public referendum” that

would    be   held   on   any    “proposed      amendments      to      the

Constitution of Alabama,” id. ¶ 21, and paragraph 22

describes Senate Bill 380 as proposing precisely such an

amendment to the Alabama Constitution.               Id. ¶ 22           The

likelihood of juror confusion from the indictment is

minimal.

    Second, it appears that the government will introduce

evidence at trial explaining that Senate Bill 380 would

have required a voter referendum to legalize electronic

bingo.




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                                       2.

       Gilley and Coker also argue that the “pro-gambling”

references are inflammatory and prejudicial because they

“undoubtedly will play to prospective jurors[’] personal

and    religious      beliefs        regarding    gambling.”        Defendant

Gilley’s mot. to strike               (Doc. No. 453) at 2; Defendant

Coker’s mot. to strike (Doc. No. 473) at 2.                         For those

jurors     who    would      allow    their    personal       and   religious

beliefs          regarding       gambling         to      affect         their

decision-making         in    this     case,     it   would     not    make   a

difference whether the legislation is described in the

indictment as “pro-gambling,” “gambling,” or with some

other modifier or no modifier at all, for gambling and

the     gambling     businesses         will     be    part    of     evidence

regardless.       The issue here is not the indictment but the

jury.      Gilley and Coker’s concern should, therefore, be

addressed not by striking the “pro-gambling” references

or replacing them with other words, but rather by making

sure     that    prospective         jurors    who    would    allow     their



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decision-making to be affected by their personal and

religious beliefs about gambling are not selected.



                                       3.

       Finally, Gilley and Coker argue that “the Government

references other pieces of electronic bingo legislation

in the Indictment other than [Senate Bill] 380, ... and

lumping       all     pieces      of        legislation    together        as

‘pro-gambling legislation’ confuses the facts for the

jury and for the preparation of [Gilley's and Coker’s]

defense[s].”        Defendant Gilley’s mot. to strike                (Doc.

No. 453) at 2; Defendant Coker’s mot. to strike (Doc. No.

473) at 2.        The court is confident that, after all the

evidence has been presented and explained by this case’s

highly competent lawyers, including counsel for Gilley

and Coker, the jury will be able to understand, without

any     confusion,       the    meaning        of   the   “pro-gambling”

references in the indictment.

                                       ***



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      For the above reasons, Gilley and Coker have failed

to meet the exacting standard required to strike language

from the indictment.              The court, however, recognizes

that it has reached this conclusion without the first bit

of    actual    evidence.         The    court    will   therefore      deny

Gilley’s and Coker’s motions without prejudice and with

leave to renew if the evidence at trial fails to support

the     relevance      of   the      “pro-gambling”       term     in   the

indictment and if the use of the term should prove from

the evidence at trial to be unfairly prejudicial and

inflammatory to Gilley and Coker.                 Cf. Awan, 966 F.2d at

1426 (a court may reserve ruling on a motion to strike

surplusage until it has heard evidence regarding the

allegedly surplus language at trial).

      Accordingly, it is ORDERED that defendants Ronald E.

Gilley’s       and   Thomas     E.      Coker’s    motions    to    strike

surplusage (doc. nos. 453 & 473) are denied without

prejudice.

      DONE, this the 11th day of April, 2011.

                                        /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE
